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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MICHELLE HINDS, et al.,                           Case No. 18-cv-01431-JSW
                                                        Plaintiffs,
                                   8
                                                                                           ORDER REGARDING JURY
                                                 v.                                        QUESTIONNAIRE AND PROPOSED
                                   9
                                                                                           VOIR DIRE
                                  10     FEDEX GROUND PACKAGE SYSTEM,
                                         INC., et al.,
                                  11                    Defendants.
                                  12
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                                              The Court HEREBY ADVISES the parties that it will send the Court’s standard jury
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                                       questionnaire to proposed jurors in advance of jury selection. That questionnaire is attached to
                                  15
                                       this Order, and the Court will add the following ten questions from the parties’ proposed voir dire
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                                       to that standard questionnaire. Unless otherwise noted below, the answers will be formatted as on
                                  17
                                       the questionnaire: No. Yes, Please explain. The Court also sets forth its intended voir dire to be
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                                       posed during jury selection on October 19, 2022.
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                                              The parties shall file any objections to the questionnaire and to the Court’s proposed
                                  20
                                       questions by 12:00 p.m. on September 30, 2022. If any party requests that a different question
                                  21
                                       from their proposed voir dire be included with the questionnaire, they shall advise the Court of the
                                  22
                                       question that request be omitted and the question they request be included.
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                                              The parties will be provided with copies of the questionnaires on the afternoon of October
                                  24
                                       12, 2022. Following receipt of those questionnaires the parties shall meet and confer and attempt
                                  25
                                       to reach agreement on those jurors who should be excused for cause and hardship. The parties
                                  26
                                       shall provide that information to the Court by 11:00 a.m. on October 17, 2022.
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                                   1                           QUESTIONS TO BE ADDED TO QUESTIONNAIRE

                                   2           1.         Have you or a close friend or relative ever filed a complaint against an employer?

                                   3           2.         Have you ever felt you were unfairly denied pay, overtime, or benefits you believed

                                   4   you were entitled to?

                                   5           3.         Do you have a strong opinion, whether positive or negative, of large corporations,

                                   6   generally?

                                   7           4.         Do you feel like you would have difficulty trusting the testimony of a witness who

                                   8   works for or represents a large corporation in a lawsuit?

                                   9           5.         Do you have strong opinions, whether positive or negative, about how large

                                  10   corporations treat their employees?

                                  11           6.         Do you or a relative or close friend have any education, training, or experience in

                                  12   the legal field?
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                                  13           7.         Do you or a relative or a close friend have any education, training, or experience

                                  14   with California labor laws?

                                  15           8.         Do you believe that if a case makes it to trial it is probably a strong case?

                                  16           9.         Do you hold any strong opinions, whether positive or negative, about companies

                                  17   that primarily rely on independent contractors or independent service providers for conducting a

                                  18   key aspect of the company’s business?

                                  19           10.        If you are selected as a juror, the Judge will instruct you that you that you are not to

                                  20   communicate with anyone in any way and are not to let anyone else communicate with you in any

                                  21   way about the merits of the case or anything to do with it. This includes discussing the case in

                                  22   person, in writing, by phone, smart phone, or other electronic means, via e-mail, text messaging,

                                  23   or in or on any Internet chat room, blog, website (including such social networking media like

                                  24   Facebook, My Space, LinkedIn, You Tube, TikTok, and Twitter) or other feature. Do you believe

                                  25   that you would not be able to follow that instruction? [For this question, if the answer is no, the

                                  26   potential juror will be asked to explain.]

                                  27                          PROPOSED VOIR DIRE FOR OCTOBER 19, 2022

                                  28           The Court will read the parties’ statement of the case:
                                                                                             2
                                   1          This lawsuit was brought by Michelle Hinds (“Ms. Hinds”) and Tyrone Powell (“Mr.

                                   2   Powell” (collectively the “Plaintiffs”) against Bay Rim Services (“Bay Rim”) and FedEx Ground

                                   3   (the “Defendants”), claiming that both Bay Rim and FedEx Ground employed them, and that both

                                   4   failed to provide rest and meal breaks, failed to pay overtime, failed to provide proper wage

                                   5   statements, and failed to pay wages due on termination.

                                   6          FedEx Ground provides package pickup, delivery, and information services to businesses

                                   7   and residences throughout the United States by entering into contracts with thousands of

                                   8   businesses called Service Providers. These Service Providers provide “first” and “last” mile

                                   9   pickup and delivery services from homes and offices. There are approximately 580 Service

                                  10   Providers in California employing more than 20,000 individuals.

                                  11          Plaintiffs worked as delivery drivers for Bay Rim. At any given time, Bay Rim owned

                                  12   approximately 12 vehicles and employed approximately 11 drivers for the package pickup and
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                                  13   delivery side of its business. Bay Rim operated this business from 2014 until its contract expired

                                  14   in March of 2018.

                                  15          Ms. Hinds worked for Bay Rim from July 2017 to February 2018. Mr. Powell worked for

                                  16   Bay Rim from November 2017 to January 2018. There is no dispute in this case that Ms. Hinds

                                  17   and Mr. Powell were employees of Bay Rim. But Ms. Hinds and Mr. Powell also claim, and

                                  18   FedEx Ground denies, that FedEx Ground was also their employer—a “joint employer.”

                                  19   You will be deciding the claims and defenses presented to you for decision as to both Bay Rim

                                  20   and FedEx Ground.

                                  21                                       QUESTIONS TO PANEL

                                  22          11.     My name is Jeffrey S. White. My law clerks are Kristin Ring, Margaret (Daisy)

                                  23   Salzman, and Claire Bonelli, and my Courtroom Deputy is Diyana Staples. Do any of you know

                                  24   me or any of my staff?

                                  25          12.     Counsel will introduce themselves and their clients or client representatives.

                                  26   Do any of you know any of the parties or their counsel?

                                  27          13.     The potential witnesses are: [Counsel will read their witness lists]. Based on that

                                  28   list of names or any other information that you possess, do you know anyone who may be
                                                                                        3
                                   1   involved in this case?

                                   2            14.   Will any of you have any difficulty seeing or hearing any of the witnesses in this

                                   3   trial?

                                   4            15.   Have any of you read or heard anything about this case other than what you have

                                   5   heard here today?

                                   6            16.   Have any of you ever felt that your employer did not provide appropriate rest or

                                   7   meal breaks?

                                   8            17.   Have any of you ever felt you were unfairly required to work more than 40 hours in

                                   9   a week?

                                  10            18.   Have any of you ever felt an employer manipulated your employment status to save

                                  11   the company money?

                                  12            19.   Have any of you ever had your employment classification disputed? For example,
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                                  13   has anyone ever disputed that you were an employee?

                                  14            20.   Have any of you had an employer tell you that you were exempt from overtime pay

                                  15   when you believed or know you were entitled to overtime pay?

                                  16            21.   Do any of you believe that employers routinely take unfair advantage of their

                                  17   employees?

                                  18            22.   Have any of you ever had a negative experience with FedEx Ground?

                                  19            23.   Do any of you hold a negative opinion of FedEx Ground?

                                  20            24.   Have any of you, a family member, or a close friend worked as a driver for a

                                  21   delivery company, like UPS, Amazon, or Federal Express?

                                  22            25.   Have any of you, a family member, or a close friend ever worked in human

                                  23   resources?

                                  24            26.   Have any of you, a family member, or a close friend ever been a member of a labor

                                  25   union?

                                  26            27.   Have any of you, a family member, or a close friend worked as an independent

                                  27   contractor or worked for a business that was an independent contractor or independent service

                                  28   provider?
                                                                                        4
                                   1           a.      For those of you who have been independent contractors, did you have any positive

                                   2                   or negative experiences?

                                   3           28.     Have any of you heard about “Gig” economies?

                                   4           29.     For those of you who answered yes to the last question, do any of you hold strong

                                   5   opinions, whether positive or negative, about Gig economies?

                                   6           30.     Have any of you ever left a job due to poor working conditions?

                                   7           31.     Have any of you felt retaliated against at any of your jobs?

                                   8           32.     Having heard all of the questions I have posed, and having heard the responses of

                                   9   other panelists, can any of you think of any other reason suggest as to why you could not sit on

                                  10   this jury and render a fair verdict based on the evidence presented to you and in the context of the

                                  11   instructions I will give to you on the law?

                                  12           33.     Do any of you have anything that you would like to bring to the Court’s attention
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                                  13   (e.g., health problems, hearing problems, difficulty understanding English, personal bias, financial

                                  14   problems, etc.) that might affect your ability to be an effective, fair, and impartial juror in this

                                  15   case? (NOTE: I will allow the jurors to respond to this question in private if necessary)

                                  16           IT IS SO ORDERED.

                                  17   Dated: September 23, 2022

                                  18                                                      ______________________________________
                                                                                          JEFFREY S. WHITE
                                  19                                                      United States District Judge
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